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                Exhibit 6
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WORLD | MIDDLE EAST

Lebanese Protests Triggered by WhatsApp
Tax Rattle Government
Demonstrators blame officials for inciting sectarianism and advancing interests of regional powers




Protesters carry Lebanese lags and chant slogans in front of the government palace
during a protest in Beirut on Friday.
PHOTO: NABIL MOUNZER SHUTTERSTOCK


By Nazih Osseiran and Dion Nissenbaum
Updated Oct. 18, 2019 12 53 pm ET



BEIRUT—Thousands of people took to the streets across Lebanon against an
intensifying economic crisis in the country, threatening to bring down a
government caught between the demands of regional rivals Saudi Arabia and
Iran.

Friday’s protests were triggered by a proposal the government put forward a day
earlier to tax people for using WhatsApp, as it tries to generate enough revenue to
service its huge debt pile. The rapid withdrawal of the proposal failed to assuage
protesters frustrated by the government’s failure to rein in corruption.

Activists on motorcycles zipped through the city, chanting antigovernment
slogans and urging people to shut down the main highway running through the
capital. On Thursday night, they burned barricades built from trash, wood pallets
and garbage bins in downtown Beirut, an area popular with tourists.

In response, the government canceled a cabinet session on Friday and dispatched
riot police to the streets in case the protests turn violent.
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Demonstrators from across the political spectrum called for the coalition
government to resign, echoing anticorruption chants heard recently in Iraq and
Egypt. The expanding regional outrage over perceived economic mismanagement
and government incompetence has served as a reminder of the widespread
regional protests during the Arab Spring uprisings of 2011.

At that time, the spark for regional demonstrations was a young Tunisian street
vendor who set himself on ﬁre in protest against police oﬃcers who routinely
stole his fruit. This time, in Lebanon, it was a proposed $6-a-month tax on
WhatsApp, the popular social-messaging app.

The protests, which have been largely peaceful, threaten to bring down Prime
Minister Saad Hariri, who has struggled to balance competing demands
emanating from Saudi Arabia and Iran. Riyadh supports Mr. Hariri and his largely
Sunni Muslim party, while Tehran backs the Shiite Hezbollah group, which is part
of the coalition government. The Trump administration is also increasing
pressure on Lebanon to contain Iran’s inﬂuence in the country.




A protester shouts slogans against the government as he blocks the road in front a mosque
in Beirut.
PHOTO: NABIL MOUNZER SHUTTERSTOCK


Mr. Hariri tried to address the protesters’ concerns on live TV Friday evening,
promising to take action soon.

“I give myself a short period, which is 72 hours, for my partners to give me an
answer that convinces me and convinces those who are expressing anger and the
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international community,” the prime minister said. “Otherwise the conversation
will change.”

Demonstrators blamed oﬃcials for inciting sectarianism and advancing the
interest of regional powers at the expense of the Lebanese people.

The Saudi Embassy in Lebanon said on Twitter it would evacuate its citizens.

Protesters in Beirut chanted slogans heard across the Arab world.

“The people want the downfall of the regime,” they repeated as they marched
through Beirut’s streets, echoing chants heard in Iraq and Egypt in recent weeks
that have been met with severe government crackdowns.



Chief among Beirut’s woes is a currency crunch and shortage of U.S. dollars. The
peg of the Lebanese lira to the U.S. dollar, which has endured for more than two
decades, appears to be faltering. In the black market, conversion rates have gone
up as high as 1,650 to the dollar, compared with the oﬃcial rate of 1,507.

More than one million Syrian refugees have stretched Lebanon’s infrastructure to
its limit. To make up for shortages in electricity and water provided by the state,
households often have to buy from private suppliers, paying two bills for each
utility.

Turkey’s incursion in Syria has ensured that Lebanon’s refugee crisis will persist
as Syria’s security conditions grow more unstable.

Residents across Lebanon were further outraged earlier this week by the
government’s inability to quickly contain wildﬁres that spread through the
country’s Chouf Mountains.

Oﬃcials brought in police riot-control trucks with water cannon to contain the
ﬁres because ﬁreﬁghting helicopters weren’t being properly maintained.
Hundreds of people ﬂed their homes and a ﬁreﬁghter was killed while ﬁghting the
blaze.

“They spend millions on their fancy trips and all we needed was $400,000 for
maintaining the helicopters,” said Redwan Mortada, a retired math teacher who
joined the demonstrations on Friday. “They could have given us that at least. They
would have even still made money oﬀ of it through their commissions.”

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